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REITLER KAILAS & ROSENBLATT LLC                                     Hearing Date: April 4, 2018
Yann Geron                                                          At: 10:00 a.m.
Jeannette Litos
885 Third Avenue, 20th Floor                                        Objection Deadline: March 28, 2018
New York, New York 10022
(212) 209-3050

Attorneys for Yann Geron, Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :   Chapter 7
                                                                :
SCANDIA SEAFOOD (NEW YORK), INC.,                               :   Case No. 17-10744-MEW
                                                                :
                                    Debtor.                     :
----------------------------------------------------------------x

    CHAPTER 7 TRUSTEE’S APPLICATION FOR AN ORDER (I) AUTHORIZING
  TRUSTEE TO CONTINUE THE DEBTOR’S ASSIGNMENT FOR THE BENEFIT OF
  CREDITORS, GAIN CONTROL OVER SUCH ASSIGNMENT PROCEEDING, AND
      PURSUE STATE LAW PREFERENCE CLAIMS IN SUCH ASSIGNMENT
  PROCEEDING FOR THE BENEFIT OF THE DEBTOR’S CHAPTER 7 ESTATE, OR
  ALTERNATIVELY, (II) AUTHORIZING TRUSTEE TO PURSUE THE STATE LAW
      PREFERENCE CLAIMS DIRECTLY UNDER THE BANKRUPTCY CODE

 TO THE HONORABLE MICHAEL E. WILES,
 UNITED STATES BANKRUPTCY JUDGE:

                  Yann Geron (the “Trustee”), the chapter 7 trustee of the estate of Scandia Seafood

 (New York), Inc. (“Scandia” or the “Debtor”), the above-captioned debtor, by and through his

 counsel, Reitler Kailas & Rosenblatt LLC, as and for his application for an order (i) authorizing

 the Trustee to continue the assignment for the benefit of creditors, gain control over such

 assignment proceeding, and pursue state law preference claims in the assignment proceeding, or

 alternatively, (ii) authorizing the Trustee to pursue the state law preference claims directly under

 the Bankruptcy Code, respectfully sets forth and represents as follows:




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                                                 Jurisdiction

                  1.      On March 28, 2017 (the “Petition Date”), nine creditors (collectively, the

 “Petitioning Creditors”)1 commenced the above-captioned case (the “Bankruptcy Case”) by

 filing an involuntary petition (the “Involuntary Petition”) under chapter 7 of Title 11 of the

 United States Code (the “Bankruptcy Code”) against the Debtor, a New York corporation

 formerly engaged in purveying fresh and frozen seafood and prepared foods in Secaucus, New

 Jersey.

                  2.      This Court has jurisdiction over this case and application pursuant to 28

 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

 proper in this district and before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                      Summary of Relief Requested

                  3.      The Trustee seeks an order authorizing him to pursue state law preference

 claims in the aggregate amount of approximately $3 million (the “Total Preference Claim

 Amount”). The Trustee can pursue these claims by continuing and taking control of the Debtor’s

 pending Assignment Proceeding, as defined below, including by substituting himself as the

 assignee in that proceeding. Alternatively, the Trustee seeks authority to pursue the state law

 preference claims directly as part of this Bankruptcy Case.

                  4.      These preference claims represent by far the largest asset available for

 satisfaction of claims of unsecured creditors. Indeed, if the Trustee is not able to pursue the

 Preference Actions, as defined below, there may be little, if any, distribution to unsecured

 creditors.



 1 The Petitioning Creditors are Clear Water Fish Co., Inc., Beyer Lightning Fish Co. Inc., Joe Monani Fish Co.,
 Universal Seafood, Inc., R&R Ocean Products Unlimited, Inc., Blue Harvest Foods LLC, Lockwood & Winant,
 Montauk Seafood Co., Inc., and JMS Seasonal Seafood Corp.



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                   5.       As far as the Trustee has been able to ascertain, there is scarce precedent

 for the relief sought by this application, but this relief is nonetheless necessitated by the unusual

 circumstances which led to the commencement of this proceeding and well supported under the

 Bankruptcy Code. Specifically, the commencement of an involuntary proceeding by creditors

 who are defendants in state law preference actions, and timed in a manner to potentially cut-off

 both state and federal preference claims, does not appear to be an event which occurs often,

 which serves to explain the dearth of direct precedent. As further detailed below, this application

 is fully supported by the Bankruptcy Code, such relevant case law that exists regarding the

 interplay between bankruptcy and state law assignment proceedings, and the policies underlying

 the Bankruptcy Code.

                                              Factual Background

                   6.       On December 6, 2016 (the “Assignment Filing Date”), the Debtor’s

 principals, Adam Licht and Stephen Tucker, filed an Assignment for the Benefit of Creditors in

 New Jersey State Superior Court (Chancery Division, Union County, Docket No R2849)

 pursuant to a deed of assignment dated November 29, 2016 (the “Assignment Proceeding”).

 Donald F. Campbell, Jr., Esq. (the “Assignee”) was appointed by them to serve as assignee for

 the benefit of creditors in the Assignment Proceeding on the same day.

                   7.       The Assignee retained Steven J. Mitnick, Esq., of SM Law, PC (“SM

 Law”), to pursue state law preference claims on behalf of the Assignee pursuant to N.J.S.A. §

 2A:19-3.2 In March 2017, SM Law commenced suit against numerous transferees who received



 2 “If any person being insolvent or in contemplation of insolvency shall, within 4 months before the making of a
 general assignment, and with the intention of preferring any creditor or person under liability for him, mortgage,
 pledge, assign, pay or transfer any of his property, or procure or suffer any of his property to be taken, attached or
 levied upon, or any lien or encumbrance to be acquired thereon by legal process or otherwise, such preferential
 transaction shall be void as against the assignee. The assignee may recover the property given by way of preference,
 or the value thereof, from the person so receiving the same or so benefited thereby.”  


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 payment within 120 days of the Assignment Filing Date (the “Preference Actions”). Upon

 information and belief, the total face value of the claims sought by the Preference Actions is

 approximately $3 million.

                8.      Based upon his preliminary review of the Preference Actions and

 information obtained from SM Law, the Trustee has concluded that the Preference Actions are

 strong and if pursued would result in significant recoveries for the estate. In fact, SM Law has

 collected $107,250.86 on account of settlements of certain of those Preference Actions.

 Recognizing that these collections represented assets of the chapter 7 estate, the Assignee turned

 the funds he had collected over to the Trustee, who currently holds them.

                9.      In light of the commencement of the Bankruptcy Case, the Preference

 Actions have been dismissed without prejudice to being reinstated in the Assignment

 Proceeding. Further action in connection with the claims asserted in the Preference Actions

 awaits action by the Trustee or disposition of the Assignment Proceeding.

                10.     Each of the Petitioning Creditors is a named defendant in the Preference

 Actions. In the aggregate, the claims against the Petitioning Creditors account for over $1.1

 million of the Total Preference Claim Amount, as follows:


                        (a)    Clear Water Fish Co. Inc., in the amount of $221,253.87;


                        (b)    Beyer Lightning Fish Co., Inc. in the amount of $408,900.05;


                        (c)    Joe Monani Fish Company, Inc., in the amount of $47,214.18;


                        (d)    Universal Seafood, Inc., in the amount of $44,226.58;


                        (e)    R&R Ocean Products Unlimited, Inc., in the amount of

                               $89,317.24;


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                       (f)     Blue Harvest Foods LLC, in the amount of $10,422.25;


                       (g)     Lockwood & Winant, in the amount of $187,741.85;


                       (h)     Montauk Seafood Co., Inc. in the amount of $81,634.96; and


                       (i)     JMS Seasonal Seafood Corp., in the amount of $45,347.26.


                11.    The Involuntary Petition was filed 112 days after the appointment of the

 Assignee, and less than one month after the commencement of the Preference Actions in the

 Assignment Proceedings. Notably, the Debtor ceased operations on or about the Assignment

 Filing Date, and ceased making any payments to its creditors as of that date.           Thus, the

 Involuntary Petition appears to have been commenced strategically by the Petitioning Creditors

 so as to be filed less than 120 days but more than 90 days after the Assignment Proceeding,

 thereby qualifying for the entry of an order for relief under Section 303(h) of the Bankruptcy

 Code, while at the same time seeking to moot the Preference Actions by replacing New Jersey’s

 120-day preference lookback period from the Assignment Filing Date (which subjects the

 Petitioning Creditors to significant preference liability) with Bankruptcy Code Section 547(b)’s

 90-day lookback from the Petition Date.

                12.    In denying the Assignee’s Motion to Dismiss the Involuntary Petition (the

 “Motion to Dismiss”) [DE 27], this Court held that the “main point of the petition” was not to

 avoid liability in the Preference Actions. Bench Decision dated 5/12/17 (the “Motion to Dismiss

 Decision”), p. 17, DE 42. Nonetheless, it cannot be denied that, if the Trustee is not permitted to

 pursue the Preference Actions, the effect of the commencement of the Bankruptcy Case will be

 that the Petitioning Creditors will avoid exposure to substantial preference liabilities under New

 Jersey law.



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                13.     Following the filing of the Bankruptcy Case, the Petitioning Creditors also

 filed an emergency motion seeking the appointment of a trustee [DE 16]. In response, the

 Assignee filed the Motion to Dismiss, which argued, among other things, that the

 commencement of the Bankruptcy Case would cause the loss of value from the Preference

 Actions to the detriment of the creditors of Scandia.

                14.     By order dated May 8, 2017, the Bankruptcy Court denied the Motion to

 Dismiss [DE 39].

                15.     On May 9, 2017, the United States Trustee appointed Yann Geron as

 interim chapter 7 trustee in the Debtor’s case [DE 41]. Mr. Geron has since qualified as

 permanent trustee and he is currently serving in that capacity.

                16.     To determine the universe of claims in the Bankruptcy Case, the Trustee

 established a claims bar date of November 27, 2017 (the “Claims Bar Date”). A total of sixty-

 eight (68) claims were filed by the Claims Bar Date with a total face value of $2,319,844.07, the

 vast majority of which assert general, unsecured claim status. Alleged secured and priority

 claims account for about $175,000 of the total claims filed.

                17.     Therefore, recovery by the Trustee on account of the Preference Actions

 would benefit the creditors of this estate significantly and ensure a distribution to general,

 unsecured creditors, who might otherwise receive little, if any, distribution.

                                             Argument

                18.     While there is little precedent for this application, the Court can and

 should permit the Trustee to pursue the Preference Actions.

    a. The Bankruptcy Code Contemplates the Continuation of the Assignment Proceeding
       Following the Commencement of the Bankruptcy Case




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                   19.      As a threshold matter, the Bankruptcy Code does not mandate the

 termination of the appointment, under state law, of a custodian over the property of a debtor.

 See, e.g., French Bourekas, Inc. v. Turner, 199 B.R. 808, 815-816 (E.D.N.Y. 1996) (holding that

 a state court receiver appointed prior to the bankruptcy filing is authorized to continue to operate

 pursuant to 28 U.S.C. §959: “the commencement of a bankruptcy case does not … ‘discontinue’

 a receivership”). Thus, while Bankruptcy Code Section 543(b) generally directs custodians, such

 as assignees under general assignment for the benefit of creditors,3 to turn over a debtor’s

 property to the bankruptcy trustee,4 Section 543(d)(1) specifically excuses compliance with this

 requirement if the Court finds that “the interests of creditors … would be better served by

 permitting a custodian to continue in possession, custody or control of such property.”

                   20.      The Court in In re 245 Associates, LLC, 188 B.R. 743 (S.D.N.Y. 1995),

 held that, although the commencement of a bankruptcy case ordinarily supersedes a receivership,

 the court may continue the receivership upon notice and hearing and relieve the receiver from the

 “duty to comply with the turnover and accounting requirements of section 543(b), if this better

 serves the interests of the creditors…” Id. at 748-749. This step allows the receiver to remain in

 possession while the bankruptcy case continues, but the debtor’s property remains subject to the

 bankruptcy court’s jurisdiction. Id. at 749. In the present case, therefore, the Bankruptcy Code

 expressly recognizes that the Assignment Proceeding may, at this Court’s discretion, continue

 following the commencement of this case.




 3 The term “custodian” is defined under the Bankruptcy Code as including an “assignee under a general assignment
 for the benefit of the debtor’s creditors.” 11 U.S.C. § 101(11)(b).

 4 “A custodian shall – (1) deliver to the trustee any property of the debtor held by or transferred to such custodian,
 or proceeds, product, offspring, rents, or profits of such property, that is in such custodian’s possession, custody, or
 control on the date that such custodian acquires knowledge of the commencement of the case...” See 11 U.S.C. §
 543(b)(1).


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                  21.      Both the Bankruptcy Code and case law recognize the important function

 that assignment proceedings have historically had and continue to have in dealing with

 insolvency issues. The voluntary assignment for the benefit of creditors is a procedure having its

 origins in the common law right to dispose of one’s private property as one sees fit and works in

 harmony with bankruptcy law in that such voluntary assignments serve the same ends of

 bankruptcy law of protecting creditors against each other and assuring equality of distribution.

 Pobreslo v. Joseph M. Boyd Co., 287 U.S. 518, 525-526 (1933); Mayer v. Hellman, 91 U.S. 496,

 500 (1875); Brashear v. West, 32 U.S. 608, 614 (1833); APP Liquidating Co. v. Packaging

 Credit Co., 2006 U.S. Dist. LEXIS 60195, at ** 3-4 (E.D. Wisc. Aug. 24, 2006).

                  22.      Section 543(d)(2) of the Bankruptcy Code specifically requires the Court

 to excuse an assignee who has been in place for more than 120 days from the requirement to turn

 over property of the estate to the trustee, unless such turnover is “necessary to prevent fraud or

 injustice.”5 This specific carve-out applies only to assignees, not receivers or other custodians,

 thereby indicating that the Bankruptcy Code recognizes the unique role of assignees for the

 benefit of creditors under state law.

                  23.      Section 543 of the Bankruptcy Code has two legal and practical

 implications in the present case. First, pursuant to the application of Section 543’s turnover

 directive, the assignee in the Assignment Proceeding is required to turn over to the Trustee the

 assets of the Assignment Proceeding, including any recovery on account of the Preference

 Actions, thereby ensuring that any recovery in the Assignment Proceeding will be for the benefit

 of the Debtor’s bankruptcy estate and the administration of those funds will be under this Court’s

 direction.    The Assignee has complied with this provision by turning over assets in his

 5 “Upon notice and hearing, the bankruptcy court – (2) shall excuse compliance [with turnover to trustee] if the
 custodian is an assignee for the benefit of the debtor’s creditors that was appointed…more than 120 days before the
 date of the filing of the petition…” U.S.C. Title 11 §543(d)(2). 


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 possession, including the proceeds of settlement agreements, amounting to $107,250.86, which

 the Assignee has reached with respect to certain Preference Actions. By turning over these

 payments from transferees that received payments that were preferential under New Jersey law,

 the Assignee has recognized that those settlement payments, and the right to pursue the

 preference claims that led to those settlements, constitute property of the chapter 7 estate of

 Scandia.

                24.     Second, as evidenced by Section 543(d)(2), the Assignment Proceeding

 may coexist with the Bankruptcy Case. The continuation of the Assignment Proceeding under

 the circumstances of this case will enable the Trustee to administer an important and valuable

 asset of the estate which would otherwise be unavailable to the creditors. The Bankruptcy

 Code’s acknowledgement of the continuation of the Assignment Proceeding authorizes, and

 indeed endorses, this result.

    b. Administering the Preference Actions Via the Assignment Proceeding as Property of the
       Bankruptcy Estate

                24.     If this Court grants this application, the Trustee submits that the

 Preference Actions will be administered by the Trustee precisely as would any other claim

 belonging to the bankruptcy estate which is being prosecuted in another court, such as a state law

 personal injury claim in an individual debtor case. All actions of the Trustee in the prosecution

 of the Preference Actions would be subject to this Court’s final review and approval. The

 Trustee will take the necessary steps to gain control over the Preference Actions as the sole

 fiduciary governing the assets of the Debtor’s estate. To this end, to the extent necessary, the




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 Trustee is prepared to substitute himself as the Assignee in the Assignment Proceeding for the

 sole purpose of prosecuting the Preference Actions.6

                   25.      The Trustee may consider retaining SM Law under significantly revised

 compensation terms, or may select other counsel if necessary and appropriate, to represent him in

 connection with the continued prosecution of the Preference Actions. The retention of that

 counsel will be subject to this Court’s prior approval in accordance with Sections 327 and 328 of

 the Bankruptcy Code, and any compensation to such counsel will be subject to application to,

 and allowance by, this Court.

                   26.      Any recovery on account of the Preference Actions will be deposited

 directly into the Debtor’s estate account under the Trustee’s exclusive control, and an accounting

 of those funds will be provided to this Court, the United States Trustee, and creditors. At all

 times, the Trustee will have sole and exclusive control over all funds recovered on account of the

 Preference Actions. Any settlements on account of the Preference Actions would require the

 express approval of the Trustee and will be subject to approval of this Court on notice to all

 creditors.

                   27.      By implementing these procedures and safeguards, the Trustee will be

 able to collect funds in the Assignment Proceeding and distribute those funds within the

 Bankruptcy Case under the exclusive jurisdiction of this Court and with all the transparency and

 accountability that the Bankruptcy Code and Rules require.




 6 Alternatively, if necessary to distinguish between the Trustee and Assignee, the Trustee could select a qualified
 party, as approved by this Court, to act as nominee of the chapter 7 trustee with duties strictly restricted and subject
 entirely to the Trustee’s direction and this Court’s jurisdiction.



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       c. Continuing the Preference Actions Will Benefit the Debtor’s Estate and its Creditors

                28.     Continuing the Preference Actions within the Assignment Proceeding will

 not burden the estate with any additional expenses. SM Law has already completed its analysis

 of the viable claims and commenced the Preference Actions, which will reduce the Trustee’s

 threshold efforts in prosecuting these actions. In fact, prior to the filing of the Bankruptcy Case,

 payments on account of the Preference Actions were received by SM Law, and subsequently

 tendered to the Trustee as assets of the chapter 7 estate. Other defendants in the Preference

 Actions have expressed a willingness to settle, and denial of the instant motion would deprive the

 estate of recoveries from such defendants.

                29.     While the Trustee expressly reserves the right to review and revise the

 terms of SM Law’s retention or retain separate counsel, the Trustee intends to pursue the

 Preference Actions under suitable contingency fee terms, which will serve to further mitigate the

 economic risks to the bankruptcy estate of pursuing the Preference Actions.

    d. Alternatively, the Preference Actions Are Directly Recoverable by the Trustee

                (i) The Trustee as Successor to the Rights and Claims of the Assignee

                30.     Alternatively, the Trustee should be authorized to pursue the Preference

 Actions in this Bankruptcy Case.

                31.     As an initial matter, the Trustee is empowered to pursue the Preference

 Actions directly under New Jersey law as successor-in-interest to the Assignee, just as the

 Trustee is empowered to pursue any other legal rights or remedies arising under state law to

 realize the maximum return for the estate to further distribution to the Debtor’s creditors. See In

 re Balco Equities Ltd., 323 B.R. 85, 98 (Bankr. S.D.N.Y. 2005) (a chapter 7 trustee is a fiduciary

 primarily obligated to maximize return for distribution to unsecured creditors). The Trustee has




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 requested that the Assignee turnover the proceeds of the settlement agreements the Assignee has

 negotiated in connection with the Preference Actions. The Assignee complied with this request,

 turning over the amount of $107,250.86, thereby demonstrating that, upon the filing of the

 Involuntary Petition, these funds and the claims from which they resulted are property of the

 bankrupt estate.7

                   32.      Just as the proceeds of Preference Actions became property of the estate

 upon the filing of the Involuntary Petition, the unresolved Preference Actions, likewise, became

 property of the estate at the same time, with the Trustee having the sole power to pursue them.

 See In re Flanagan, 503 F.3d 171, 179 (2d Cir. 2007) (“After appointment of a trustee, a debtor

 no longer has standing to pursue a cause of action that existed at the time the order for relief was

 entered. Only the trustee has the authority and discretion to prosecute, defend and settle, as

 appropriate in its judgment, such a cause of action.”) (quoting 3 Collier on Bankruptcy ¶ 323.03,

 .03[1], at 323-7 to -9 (15th ed. 2007)).

 (ii) The Trustee as Creditor Under Section 544 of the Bankruptcy Code

                   33.      Section 544 of the Bankruptcy Code provides an alternative basis for

 authorizing the Trustee to pursue the Preference Actions in this Bankruptcy Case. Section 544 of

 the Bankruptcy Code states that a trustee may void transfers of property that are avoidable under

 applicable law by “a creditor holding an unsecured claim that is allowable under Section 502 of

 this title.” (emphasis added). See 11 U.S.C. §544(b). In relevant part, the Bankruptcy Code

 defines a “creditor” as “an entity that has a claim against the debtor that arose at the time of or

 before the order for relief concerning the debtor.” 11 U.S.C. §101(10)(a). As further explained


 7 In the Motion to Dismiss, the Assignee took the position that if the Bankruptcy Case continued, there would be no
 ability for the Debtor to pursue the Preference Actions. This issue was not briefed by the parties, and the Assignee’s
 position in connection with the Motion to Dismiss was not, we submit, correct, or consistent with the Assignee’s
 subsequent action in turning over the proceeds of his settlement agreements with certain defendants in the
 Preference Actions.


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 below, the Trustee submits that he has “creditor” standing under New Jersey law to pursue the

 Preference Actions.

                  34.      In ruling on the Motion to Dismiss, this Court gave consideration as to

 whether a chapter 7 Trustee would succeed to the Assignee’s right to assert preference claims

 under New Jersey law.8 This Court denied the Motion to Dismiss even though it concluded,

 without making an ultimate finding9, that it did not appear that the chapter 7 Trustee could

 pursue such claims. In reaching this conclusion, this Court noted that “At least one other court . .

 . has concluded that a trustee does not succeed to the powers that a prior receiver or custodian

 would have had.” Motion to Dismiss Decision, p. 13 (citing In re Delta Group, 300 B.R. 918,

 922-24 (Bankr. E.D. WI 2003)).

                  35.      Delta Group, the only authority cited by this Court, is not binding on this

 Court, and is of doubtful precedential value to the facts of this case and in light of other

 authorities that have analyzed the interplay between state law assignment proceedings and the

 Bankruptcy Code.

                  36.      In Delta Group, a Wisconsin state court receivership was filed against the

 Debtor on February 2, 2001. On March 23, 2001 (just 49 days later), an involuntary chapter 7

 petition was filed against the debtor. The chapter 7 trustee appointed in the debtor’s case

 commenced several adversary proceedings pursuant to Section 544 of the Bankruptcy Code,

 seeking to avoid and recover transfers made by the debtor within four months of the filing of the




 8 This issue was not briefed by the parties in connection with the Motion to Dismiss, but was evaluated by the Court
 sua sponte.
 9 “I have considered whether a chapter 7 Trustee might succeed to the right to assert such preference claims, but it
 does not appear that would be the case.” Motion to Dismiss Decision, p. 13. “The continuation of the Chapter 7
 case may have the effect of ending the chance to pursue preference actions under New Jersey statute” (emphasis
 added). Id. at 15.


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 state court receivership on the basis that the applicable Wisconsin statute allows for the recovery

 of preferential payments within four months of the filing of the receivership petition.

                37.     The Court in Delta Group considered two arguments as to whether the

 bankruptcy trustee could avail himself of the state law avoidance power. First, the Court

 considered whether the bankruptcy trustee could utilize the state law power directly. The Court,

 in a single paragraph and relying on two inapposite cases, dismissed this argument as

 inconsistent with the United States Constitution:

                Congress’ power to establish uniform laws on the subject of
                bankruptcy throughout the United States is unrestricted and
                paramount. Int’l Shoe Co. v. Pinkus, 278 U.S. 261, 265, 49 S.Ct.
                108, 73 L.Ed. 318 (1929). States may not pass or enforce any laws
                that interfere with or complement federal bankruptcy law, or
                provide additional or auxiliary regulations. Id.; In re Wis. Builders
                Supply Co., 239 F.2d 649, 656 (7th Cir. 1956) (voluntary
                provisions of Chapter 128 of the Wisconsin Statutes were
                preempted by federal Bankruptcy Act). Therefore, any argument
                that a trustee in bankruptcy may avail himself of state law
                avoidance powers independently of what is proscribed by the
                federal Bankruptcy Code, must fail.

 Delta Group, 300 B.R. at 921.

                38.     Neither of the cases upon which the Delta Group Court relied, Pinkus and

 Wisconsin Builders Supply, involved the power of bankruptcy trustees to enforce state laws

 regarding preferential payments, let alone the power of states to enact such legislation. At issue

 in Pinkus was an Arkansas insolvency statute which provided for, among other things, the

 discharge of all the obligations of the insolvent debtor. International Shoe Co. v. Pinkus, 278

 U.S. 261 (1929). As the Supreme Court subsequently held, in distinguishing and limiting the

 scope of its holding in Pinkus, bankruptcy law preempts state insolvency laws, not state laws

 governing assignments for the benefit of creditors. Pobreslo v. Joseph M. Boyd Co., 287 U.S.

 518, 525-526 (1933).



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                  39.      Paradoxically, the second case upon which the Delta Group court relied,

 Wisconsin Builders Supply, recognized the limited scope of the Supreme Court’s decision in

 Pinkus in upholding the voluntary provisions of Wisconsin’s assignment statute. In re Wisconsin

 Builders Supply Co., 239 F.2d 649, 652-653 (7th Cir.), cert. denied, 353 U.S. 985 (1957).10

                  40.      Contrary to the holding in Delta Group, there is ample precedent for the

 proposition that the Bankruptcy Code does not preempt state preference laws. See In re Rexplore

 Drilling, Inc., 971 F.2d 1219, 1222 (6th Cir. 1992) (“state preference law is an adjunct to, and

 supplemental of, those powers specifically provided for in the Bankruptcy Code which enable

 the trustee to avoid certain transfers”); Ready Fixtures Co. v. Stevens Cabinets, 488 F. Supp.2d

 787, 789-793 (W.D. Wisc. 2007) (“The Wisconsin [preference] statute does not interfere in any

 way with the goals or operation of the bankruptcy code…. To find that the state statute is

 preempted would force insolvent debtors always to file for bankruptcy, even when simpler, less

 expensive state proceedings are available to them. That result is a historical and, if anything,

 undermines the bankruptcy code’s focus on protecting (rather than exploiting) the debtor.”); BDI

 Liquidating Co. v. Quest Graphic, LLC, 2007 WL 2492740 (E.D. Wisc. Aug. 29, 2007); APP

 Liquidating Co. v. Packaging Credit Co., 2006 U.S. Dist. LEXIS 60195, at **3-9 (E.D. Wisc.,

 Aug. 24, 2006) (“A receiver’s ability to recover a preference payment within 120 days, rather

 than 90 days, is not a substantial difference that is an obstacle to accomplishing the federal

 bankruptcy goal of equitable distribution).11


 10 The Delta Group Court erroneously stated that Wisconsin Builders Supply struck down the voluntary provisions
 of Wisconsin’s assignment statute. Delta Group, 300 B.R. at 921. It was, in fact, the involuntary provisions of
 Wisconsin’s assignment statute that was struck down, and severed from the voluntary provisions, which were
 upheld. Wisconsin Builders Supply, 239 F.2d at 653-657.
 11 The Courts in Ready Fixtures and APP Liquidating rejected the holding of the United States Court of Appeals for
 the Ninth Circuit that the Bankruptcy Code preempts all state preference laws. Sherwood Partners, Inc. v. Lycos,
 Inc., 394 F.3d 1198 (9th Cir.), cert. denied, 546 U.S. 927 (2005) (striking down California’s preference statute).
 Sherwood Partners has been roundly criticized and rejected by the state courts of California. Credit Managers
 Assoc. of California v. Countrywide Home Loans, Inc., 144 Cal.App.4th 590 (4th Dist. 2006); Haberbush v. Charles


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                  41.     The Court in Delta Group also considered whether the bankruptcy trustee

 could avail himself of state law avoidance powers under Section 544 of the Bankruptcy Code.

 The Court held that the bankruptcy trustee could not avail himself of this state law avoidance

 power, since Section 544 requires a state law avoidance power to be vested in an individual

 creditor (not a custodian), and therefore, the letter of the law suggests that a trustee cannot avail

 himself of the longer preference period afforded by the state statute. Id. at 924. Thus, that court

 held, since the creditors do not have standing to pursue these claims, the trustee would be unable

 to assert them standing in their shoes under Section 544. Id.

                  42.     The Trustee submits that the decision in In re Kenval Marketing Corp., 69

 B.R. 922 (Bankr. E.D. Pa. 1987) more closely mirrors the facts of the case at hand and is more

 persuasive authority than Delta Group.

                  43.     In Kenval, the debtor executed an assignment for the benefit of creditors in

 Pennsylvania on March 8, 1983. Approximately four months later (121 days), on July 7, 1983,

 an involuntary chapter 11 bankruptcy proceeding was filed against the debtor. The chapter 11

 trustee subsequently commenced an adversary proceeding, pursuant to Section 544 of the

 Bankruptcy Code, seeking to avoid certain prepetition preferential transfers under applicable

 Pennsylvania state law which allows for recovery of transfers that occur within four months prior

 to the commencement of an assignment proceeding. The Kenval court read Section 544 more

 broadly than did the court in Delta Group. The Kenval court held that a bankruptcy trustee could

 assume the assignee’s avoidance powers in the state court assignment proceeding and continue to


 and Dorothy Cummins Family Limited Partnership, 139 Cal.App.4th 1630 (2d Dist. 2006). See also Has the Ninth
 Circuit Finally Seen the Light? The Latest Development in Bankruptcy Preemption, 2009 Ann. Surv. of Bankr. Law
 13 (Sept. 2009); Federal Preemption of State Preference Statute in Sherwood Partners v. Lyons – An Unduly
 Restrictive Standard?, 2007 Ann. Surv. of Bankr. Law 10 (Sept. 2007); The Limits of Bankruptcy Code Preemption:
 Debt Discharge and Voidable Preference Reconsidered in Light of Sherwood Partners, 28 Cardozo L. Rev. 1447
 (Dec. 2006); The Preemptive Effect of the Bankruptcy Code for Preference Avoidance Under State-Law Assignments
 for the Benefit of Creditors, 25 No. 4 Bankruptcy Law Letter 1 (April 2005).


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 prosecute those state preference claims in a bankruptcy case. The Kenval Court held that,

 especially in light of Bankruptcy Code Section 543’s acceptance of the continuation of the

 assignment proceeding, reading Section 544(b) to allow a trustee to succeed to the right to assert

 the assignee’s preference claims “makes sense”. Id. at 930. Moreover, the Kenval Court stated

 that the intention of Section 543 is not “to divest the…assignee of all authority without granting

 the bankruptcy trustee equivalent authority through Section 544(b).” Id.

                44.     Notably, the Kenval court looked to the language of the applicable state

 statute to define the role of the assignee. The court held that the relevant Pennsylvania statute

 did not treat an assignee as “merely a successor to the assignor but also is a representative of the

 assignor’s creditors.” Id. at 930. Similarly, in the present case, the relevant New Jersey statute

 provides that an assignee in a state court proceeding is “at all times”, a “representative of the

 creditors…and shall have the same power to set aside conveyances, and to recover or reach

 assets for the benefit of the creditors, as a creditor would have…” N.J.S.A. §2A:19-14.

                45.     Notably, the Kenval court stated that policy considerations support a

 broader interpretation of Section 544 to allow the trustee to pursue the preference claims. The

 Kenval court noted that a narrower reading of Section 544 that prevents a trustee from pursuing

 preferential claims of an assignment proceeding would allow creditors to essentially game the

 system by timing an assignment proceeding and a subsequent bankruptcy filing to avoid

 recovery.   Id. at 931-32.   This result would be “inconsistent with the spirit and intent of

 §544(b).” Id. at 932. That is precisely the result which must be avoided in the present case as

 well.

                46.     The Kenval analysis firmly supports the Trustee’s right to prosecute the

 Preference Actions under the ultimate authority of this Court under Section 544 of the




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 Bankruptcy Code. Sections 543 and 544 of the Bankruptcy Code, when viewed in tandem,

 support the Trustee’s direct standing to bring these claims, particularly because it seems likely

 that the Petitioning Creditors timed their filing precisely to game the system, a risk noted by the

 Kenval court.

                 47.     Neither Delta Group nor Kenval is binding on this Court. However, the

 facts in Kenval more closely resemble the facts in the present case, and the reasoning in that case

 in light of those facts is strongly suggestive of the result which should be achieved in this case.

 Notably, unlike the Debtor’s case, the assignees in Delta Group and Kenval had not yet

 commenced preference actions in the assignment proceeding.             Instead, the subsequently-

 appointed bankruptcy trustees were trying to step into the shoes of the assignee in order to file

 preference actions in the respective bankruptcy proceedings. Here, the Trustee is asking this

 Court to allow the already-commenced Preference Actions to proceed and partially fund the

 claims of the estate.

                 48.     Therefore, as the bankruptcy trustee in Kenval was granted standing as a

 creditor, so too should the Trustee in this case be authorized to assert the rights of the Assignee-

 as-creditor at the time of the filing in order to pursue the state law preference claims under

 Section 544 of the Bankruptcy Code.

                 49.     For all the foregoing reasons, the Trustee respectfully requests that he be

 authorized to pursue the Preference Actions, either by continuing the Assignment Proceeding as

 detailed above, or pursuant to Section 544 of the Bankruptcy Code. The amount of the claims at

 issue is significant, and while the case law is scarce, the statutory basis and persuasive case law

 supports the relief sought by this application.




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                                       Notice and Procedure

                50.     Notice of this application has been given to the Debtor, counsel to the

 Debtor, the Assignee, all known creditors and parties in interest, all parties requesting notice and

 the United States Trustee. Additionally, complete copies of this application have been served

 upon the Debtor, counsel to the Debtor, the Assignee, all parties requesting notice, and the

 United States Trustee.     The Trustee submits that no other or further notice is required or

 necessary.

                51.     This application includes citations to the applicable rules and statutory

 authorities upon which the relief requested is predicated. Accordingly, the Trustee respectfully

 submits that this application satisfies the requirements of Local Bankruptcy Rule 9013-1(a).

                                          No Prior Relief

                52.     No other application has been made for the relief requested herein to this

 or any other Court.




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                  WHEREFORE, the Trustee respectfully requests that the Court enter an order (i)

 authorizing trustee to continue the Assignment Proceeding, gain control over the Assignment

 Proceeding, and pursue the Preference Actions in the Assignment Proceedings for the benefit of

 the debtor’s bankruptcy estate, or alternatively, (ii) authorizing the Trustee to pursue the state

 law preference claims under Section 544 of the Bankruptcy Code, and granting such other and

 further relief as is just.

 Dated:     New York, New York                     REITLER KAILAS & ROSENBLATT LLC
            March 14, 2018
                                                   /s/ Yann Geron
                                                   Yann Geron
                                                   Jeannette Litos
                                                   Reitler Kailas & Rosenblatt LLC
                                                   885 Third Avenue, 20th Floor
                                                   New York, New York 10022
                                                   T: (212) 209-3050
                                                   F: (212) 371-5500
                                                   ygeron@reitlerlaw.com

                                                   Attorneys for Yann Geron, Chapter 7 Trustee of
                                                   the estate of Scandia Seafood (New York), Inc.




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